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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION




UNITED STATES OF AMERICA,                      )       Case No.: 1:06 CR 184-24
                                               )
          Plaintiff                            )       JUDGE SOLOMON OLIVER, JR.
                                               )
          v.                                   )
                                               )       ORDER ACCEPTING PLEA
JEFFREY TORRES,                                )       AGREEMENT, JUDGMENT AND
                                               )       REFERRAL TO U. S. PROBATION
          Defendant                            )       OFFICE



          This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge David S. Perelman, regarding the change of plea hearing of Jeffrey Torres,

which was referred to the Magistrate Judge with the consent of the parties.

          On April 12, 2006, the government filed a three-count indictment against Defendant

Jeffrey Torres, for conspiracy to distribute cocaine, crack cocaine and marijuana, as defined in

Title 21, United States Code, Section 841(a)(1), (b)(1)(A) & 846 and use of a communication

facility to facilitate a drug trafficking offense, as defined in Title 21, United States Code, Section

843(b).

          On April 26, 2006, a hearing was held in which Defendant Torres, entered a plea of not

guilty before Magistrate Judge McHargh. On July 17, 2006, Magistrate Judge David S.
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Perelman received Defendant Torres’s plea of guilty to count , and issued a Report and

Recommendation (“R&R”) concerning whether the plea should be accepted and a finding of

guilty entered. Magistrate Judge Perelman filed his R&R on July 17, 2006.

       Neither party submitted objections to the Magistrate Judge’s R&R in the ten days after it

was issued.

       On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Torres is found to be competent to enter a plea and to understand his constitutional rights. He is

aware of the charges and of the consequences of entering a plea. There is an adequate factual

basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

       Therefore, Defendant Torres is adjudged guilty of Count One in violation of

Title 21 Section 841(a)(1), (b)(1)(A) and 846. This matter is referred to the U. S. Probation

Department for the completion of a pre-sentence investigation and report. Sentencing will be on

October 3, 2006, at 2:00 p.m. in Courtroom 17-A.

       IT IS SO ORDERED.



                                             /s/SOLOMON OLIVER, JR.
                                             UNITED STATES DISTRICT JUDGE
